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 UNITED STATES DISTRICT COURT                     whether Holloway asked Garrett to appeal his
 SOUTHERN DISTRICT OF GEORGIA                     sentence. Garrett claimed that after
     STATESBORO DIVISION                          sentencing he met with Holloway in a
                                                  holding area where they discussed the
HOMER HOLLOWAY,                                   possibility of appeal in detail. Garrett said he
                                                  explained Holloway’s appellate rights but
Movant,                                           advised against filing an appeal which he
                                                  perceived to have no merit in light of
                                                  Holloway’s guilty plea and favorable
v.                     608CV100                   sentence. Garrett claims Holloway never
                       606CR026                   asked him to file an appeal, while Holloway
                                                  claims that he did make such a request. The
UNITED STATES OF AMERICA,                         magistrate judge weighed the credibility of
                                                  the two witnesses, found Garrett to be more
Respondent.                                       credible, and concluded that Holloway had
                                                  not requested that Garrett file an appeal. Doc.
                  ORDER                           # 14 at 5. Thus, the magistrate judge
                                                  recommends that the Court deny Holloway’s
I. BACKGROUND                                     § 2255 motion based on the alleged
                                                  ineffective assistance of counsel. Id. at 6.
    Before the Court is Homer Holloway’s
28 U.S.C. § 2255 motion to vacate, set aside,          The R&R is limited to a finding that
or correct his federal prison sentence, doc. #    Holloway did not expressly instruct Garrett
1, the magistrate judge’s report and              to file a Notice of Appeal (NOA). Holloway
recommendation (R&R) that Holloway’s              objects to the R&R, arguing that even in the
motion be denied, doc. # 14, and Holloway’s       absence of such express instructions, Garrett
objections to the R&R, doc. # 16.                 had an affirmative duty to determine whether
                                                  his client wanted to appeal and breached that
     This Court sentenced Holloway to 156         duty.
months in prison for violating 21 U.S.C. §
846 (conspiracy to possess with intent to         II. DISCUSSION
distribute cocaine base and cocaine
hydrochloride) pursuant to a guilty plea.             A. New Issues Raised by Holloway
Holloway alleges that his retained counsel,
Michael Garrett, was ineffective for failing to        As a preliminary matter, the issue raised
file an appeal on his behalf following the        in Holloway’s objections to the R&R was not
sentencing, despite Holloway’s request for        raised before the magistrate judge.
Garrett to do so. Doc. # 1 at 4. Garrett          Holloway’s § 2255 motion alleged only that
contends that Holloway never made such a          Garrett failed to comply with Holloway’s
request, and the magistrate judge held an         express instructions to file an NOA. Doc. # 1
evidentiary hearing to determine whether          at 4. During the evidentiary hearing, the
Holloway had given Garrett such                   magistrate judge limited the testimony to
instructions.                                     whether Holloway had instructed Garrett to
                                                  file an NOA. At no time during the hearing
    At that hearing, Holloway and Garrett
offered conflicting testimony regarding
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before the magistrate judge did Holloway’s §              se.” Gomez-Diaz v. United States, 433 F.3d
2255 counsel 1 argue that Garrett breached a              788, 792 (11th Cir. 2005). The Court accepts
duty to determine affirmatively determine                 the magistrate judge’s finding that Holloway
whether Holloway wished to appeal.                        never made such a specific request. However,
                                                          an attorney’s duty to his client is not merely
     The Court has discretion to consider or              to file an NOA only when expressly asked to
decline to consider arguments raised for the              do so. Doc. # 16 at 4-7.
first time in objections to an R&R. See
generally Williams v. McNeil, --- F.3d ----,                In those cases where a defendant
2009 WL 311298 (11th Cir. 2/10/09). This                    neither instructs counsel to file an
case presents an example of where                           appeal nor asks that an appeal not be
“‘allowing parties to litigate full their case              taken, we believe the question whether
before the magistrate and, if unsuccessful, to              counsel has performed deficiently by
change their strategy and present a different               not filing a notice of appeal is best
theory to the district court would frustrate the            answered by asking a separate, but
purpose of the Magistrates Act.’” Id. at * 4                antecedent question: whether counsel
 (quoting Greenhow v. Sec’y of Health &                     in fact consulted with the defendant
Human Servs., 863 F.2d 633, 638 (9th Cir.                   about an appeal. We employ the term
 1988), overruled on other grounds by U.S. v.               “consult” to convey a specific meaning
Hardesty, 977 F.2d 1347, 1348 (9th Cir.                     – advising the defendant about the
 1992) (en banc)). Nevertheless, in light of                advantages and disadvantages of taking
the important interest at stake here, the Court             the appeal, and making a reasonable
will consider Holloway’s new arguments,                     effort to discover the defendant’s
albeit with an awareness that the Government                wishes.
did not have an opportunity to address them
during the hearing before the magistrate                  Roe v. Flores-Ortega, 528 U.S. 470, 477
judge.                                                    (2000). While Holloway does not dispute the
                                                          fact that Garrett discussed his right to an
     B. The Ineffective Assistance of                     appeal with him, he suggests that Garrett
        Counsel Claim                                     failed to “consult” with him by making a
                                                          reasonable effort to discover his wishes.
     In order to prevail on his claim that
counsel was constitutionally ineffective for                  There is some concern that Garrett’s
failing to file an appeal, Holloway must show             understanding that Holloway wished to waive
that Garrett’s performance was deficient and              his right to appeal rested on shaky grounds.
that this deficiency prejudiced him. See                  Asked whether Holliday accepted Garrett’s
Strickland v. Washington, 466 U.S. 668, 687               recommendation advising against appeal,
(1984). It is a “well-settled rule that an                Garrett responded, “You know, at most, he
attorney who fails to file an appeal on behalf            may have nodded his head, or [said] all right
of a client who specifically requests it acts in          or something like that. He had been
a professionally unreasonable manner per                  sentenced. He had just gotten a significant
                                                          downward departure.... He had done very
                                                          well.” Audio Recording: Evidentiary Hearing
                                                          Before Magistrate Judge (2/19/09). When
1
 The Court appointed Daniel G. Ashburn to represent       asked if it was possible that Holloway
Holloway on his habeas motion. Doc. # 10.
                                                      2
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expected Garrett to file an appeal, Garrett                    about an appeal at all. Flores-Ortega, 528
replied, “Well, anything is possible, but that                 U.S. at 478; Thompson v. U.S., 504 F.3d at
is not the impression that I had when I                        1207. Such a duty only arises when “there is
walked away.” Id. Garrett’s understanding                      reason to think either (1) that a rational
was also shaped by a request from Holliday                     defendant would want to appeal (for
to send him his case file, which Garrett                       example, because there are nonfrivolous
viewed as evidence that Holloway intended                      grounds for appeal), or (2) that this particular
to file a § 2255 motion in lieu of a direct                    defendant reasonably demonstrated to
appeal. Doc. # 14 at 4-5.                                      counsel that he was interested in appealing.”
                                                               Flores-Ortega, 528 U.S. at 478.
     It therefore appears that Garrett’s belief
that Holloway did not want to appeal was                           Addressing the second prong first,
based largely on inferences, assumptions, and                  Holloway argues that he demonstrated
Holloway’s acquiescence to Garrett’s                           interest in appealing by initiating the
recommendation against filing an appeal.                       conversation with Garrett on the subject.
Whether Garrett took reasonable efforts to                     Garrett, for his part, testified that he did not
discover Holloway’s wishes is debatable.                       recall who initiated the conversation. Thus,
Certainly, attorneys can reasonably draw                       Holloway’s testimony is not sufficiently
inferences from communications with their                      refuted, and the Court will accept that the
clients. But given the potential for a                         conversation was initiated by Holloway.
miscommunication here, the Court is                            This would seem to be an indication that
uncomfortable concluding that Holliday                         Holloway might have been interested in
clearly waived his constitutional right to an                  appealing. It thus triggered Garrett’s duty to
appeal. Although it is certainly a close call,                 consult with Holloway and make a
the Court cannot conclude that the efforts                     reasonable effort to discover his wishes.
taken to discover Holloway’s wishes were
entirely sufficient . 2                                             Finally, Holloway must satisfy the
                                                               prejudice prong of Strickland’s ineffective
    When a lawyer has not sufficiently                         assistance of counsel test. Gomez-Diaz, 433
consulted with his client regarding an appeal,                 F.3d at 792. Holloway cites to Gomez-Diaz
the Court must ask a second question –                         for the rule that:
whether counsel had a constitutional
obligation to consult with the defendant                          If the evidence establishes either that
                                                                  Petitioner's attorney acted contrary to
                                                                  his client's wishes, or that he failed to
                                                                  fulfill his duty to attempt to determine
2
  Coloring the Court’s decision is the fact that Garrett
                                                                  his client's wishes, prejudice is to be
was retained counsel and there was no engagement                  presumed, and Petitioner is entitled to
letter specifying when Garrett’s representation would             an out-of-time appeal, regardless of
conclude. Furthermore, this Court distributes a hand-             whether he can identify any arguably
out sheet to each defense lawyer following his client’s           meritorious grounds for appeal that
conviction. See Baughman v. U.S., 2008 WL 3861991
(S.D. Ga. 8/18/08) (containing a copy of that form).
                                                                  would fit one of the exceptions
The form is designed to prevent precisely these sorts             contained in his appeal waiver.
of claims, and had that procedure been followed, there
would be no question as to whether Holliday had
waived his right to appeal.
                                                           3
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433 F.3d at 793. However, Holloway                    696, 865. Lastly, Garrett testified that he saw
“must demonstrate that there is a                     no meritorious grounds for an appeal and that
reasonable probability that, but for                  he would have filed an Anders3 brief if
counsel’s deficient failure to consult with           Holloway had directed him to appeal his
him about an appeal, he would have                    conviction and sentence. Doc. # 14 at 4. 4
timely appealed.” Flores-Ortega, 528
U.S. at 484; See also Gomez-Diaz, 433                       The Court cannot conclude that there
F.3d at 793 (“[W]e require the defendant              was a reasonable probability that Holloway
to demonstrate that, but for counsel's                would have appealed but for Garrett’s failure
deficient conduct, he would have                      to take greater efforts to discover his wishes.
appealed.” (quoting Flores-Ortega, 528                As Holloway has not shown any prejudice,
U.S. at 486)).                                        his claim for ineffective assistance of counsel
                                                      fails.
     This requires a fact-specific inquiry that
considers such factors as whether there were                C. CONCLUSION
nonfrivolous grounds for appeal and whether
the defendant promptly expressed a desire to              The Court thus ADOPTS the magistrate
appeal. Flores-Ortega, 528 U.S. at 485. A             judge’s R&R, doc. # 14, as supplemented by
defendant does not always have to specify the         this Order, and DENIES movant Homer
points he would raise if his right to appeal          Holloway’s 28 U.S.C. § 2255 motion to
were reinstated, but if he does not do so,            vacate, set aside, or correct his federal prison
there need to be other substantial reasons to         sentence, doc. # 1. Holloway’s request for
believe that he would have appealed. Id. at           appointment of counsel is DENIED AS
487.                                                  MOOT.

    Holloway’s objections do not point to
any issues that he would raise on appeal.
Additionally, the Court does not see any              This 23rd day of March 2009
substantial reasons why Holloway would
have appealed what appears to have been a
very favorable outcome for him. Holloway
acknowledged that Garrett negotiated an
excellent plea agreement on his behalf. Doc.
                                                             hP •i
                                                           •) '].. // ,i-5

                                                          B_ AVANT EDFNFIE1Ø, JTJflGI
                                                          UNiTED STATES DISTRICT COURT
# 14 at 2. Garrett had rejected the                       SOUTHERN DISTRICT OF GEORGIA
government’s first offer (which exposed
Holloway to a 20-year minimum sentence)
for a more favorable agreement (which
exposed Holloway to a 20-year maximum
sentence). Id. at 2 n. 2. Furthermore,
                                                      3
Holloway’s sentence of 156 months was a                 See Anders v. California, 386 U.S. 738, 744 (1967)
downward departure from the guideline range           (counsel appointed for appeal who finds his case to be
                                                      wholly frivolous, after conscientious examination,
of 188 to 235 months. 6:06CR026, doc. ##              should so advise the court and request permission to
                                                      withdraw, supplying a brief highlighting anything in
                                                      the record that might arguably support an appeal).


                                                  4
